          Case 3:17-cv-01342-VLB Document 59 Filed 06/25/18 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
________________________________

GRADUATION SOLUTIONS LLC,                               No.: 3:17-cv-01342 (VLB)

              Plaintiff

v.                                               June 25, 2018

ACADIMA, LLC and ALEXANDER
LOUKAIDES,


           Defendants
________________________________


                      MOTION TO WITHDRAW APPEARANCE OF
                           LAURA-MICHELLE HORGAN

        Pursuant to D.Conn. L. Civ. R. 7(e), plaintiff Graduation Solutions LLC

(“Plaintiff”) moves to withdraw the appearance of Laura-Michelle Horgan, Esq.

        In support of this Motion, Plaintiff states the following:


     1. Attorney Horgan applied for admission to this Court pro hac vice by motion

        dated April 20, 2018 (Doc. #41).

     2. By Order dated April 23, 2018, this Court granted Attorney Horgan’s motion

        (Doc. #43).

     3. Attorney Horgan left the employ of Dorf & Nelson LLP on June 22, 2018.

     4. The undersigned, Jonathan B. Nelson of Dorf & Nelson LLP, appeared in

        this action by filing a Notice of Appearance on June 12, 2018 (Doc #53) for

        plaintiff, and will continue to represent the plaintiff in this case.




                                             1
        Case 3:17-cv-01342-VLB Document 59 Filed 06/25/18 Page 2 of 3



   5. The undersigned, Jonathan B. Nelson, has provided notice of this instant

      motion to the Plaintiff on this date.




      WHEREFORE, Plaintiff requests that the Court withdraw the appearance of

Attorney Laura-Michelle Horgan pursuant to Local Rule 7(e).

                                 THE PLAINTIFF,
                                 GRADUATION SOLUTIONS LLC



                                 By:   /s/___________________________
                                       Jonathan B. Nelson, Esq. [Ct30469]
                                       Dorf & Nelson LLP
                                       555 Theodore Fremd Avenue
                                       Rye, NY 10580
                                       Phone: (914) 381-7600
                                       Fax: (914) 381-7608
                                       jnelson@dorflaw.com

                                       Attorneys for Plaintiff Graduation
                                       Solutions LP d/b/a Graduation Source




                                          2
          Case 3:17-cv-01342-VLB Document 59 Filed 06/25/18 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 25, 2018, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice

of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.




                                         /s/ _______________




ACTIVE/79172.1/MFRANK/7516272v1                 3
